Counsel for appellants urges in his petition for rehearing that the case should not be remanded allowing respondents to amend their answer and adduce evidence to prove another defense, or to prove a defense which they failed to prove in the first instance. None of the authorities cited in support of this view involve the Workmen's Compensation Law, and are therefore not in point. In the case at bar, payment was in effect plead. The proof showed payment to foreign guardians upon orders of the Industrial Accident Board directing such payments, based upon agreements between the surety and such foreign guardians. We have held that such guardians were without capacity to make such agreements, upon which the awards were based, or receive payments thereunder, so those awards fail.
The Industrial Accident Board is an administrative "body exercising special judicial functions." (Cook v. Massey,38 Idaho 264, at 277, 35 A.L.R. 200, 220 P. 1088.) We do not think that the stricter rules governing the procedure in ordinary actions should apply to a proceeding such as this. The rules governing the procedure before the Board should be flexible and informal so that the objects of the act may be accomplished in a summary manner while preserving *Page 95 
the rights of the parties and doing justice between them. (See 2 Schneider on Workmen's Compensation Law, p. 1486; 1 Honnold on Workmen's Compensation, sec. 227; In re Hunnewell,220 Mass. 351, 107 N.E. 934.) To permit respondents to show, if they can, that any payments erroneously made to the foreign guardians were actually used for the benefit of the wards, is equitable and meets the ends of justice. (See Inland Steel Co. v.Lambert, 66 Ind. App. 246, 118 N.E. 162, at 166; Employers'Liability Assur. Corp. v. Francis (Tex.Civ.App.),300 S.W. 137, at 141; 4 C. J., p. 1116, secs. 3098, 3099.)
A rehearing is denied.
Budge, C.J., and Givens, T. Bailey Lee and Wm. E. Lee, JJ., concur.